Case 2:04-Cr-20454-BBD Document 36 Filed 07/21/05 Page 1 of 2 Page|D 38
UNITED sTATEs DISTRICT coURT

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cR. No. 04-20¢15@:1;51@;U.S_S[pg<g_'_1
vs_ W!D UF`H". ?-\_\'iH-.~§PHIS

PATRICK WILLIAMS

APPLIC!ATIONl ORDER and WRIT FOR HABEAS CORPUS AD PROSEQUENDU'M

The United States Attorney's Office applies to the Court for a Writ

to have PATRICK WILLIAMS DOB:04 16 1967 R&I 86813, now being detained

 

in the Shelby County Penal Farm appear before the Honorable Bernice B.
Donald on Septe:nber 22, 2005 @ 9:00 a.m. for Report and for such other
appearances as this Court may direct.

Respectfully submitted this o?_/_Jtday of July, 200¢;.

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STEPHEN P. HALL
Assistant U. S. Attorney

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Upon consideration of the foregoing Application, DAvID JoLLEY, U.S.
MARSHAL, WESTERN DIsTR:r.cT oF TENNESSEE, MEMPHIS, TN., SHERIFF/WARREN, SHELBY CouN'rY
PENAL FARM, MEMPHIs, TN.
YOUR ARE HEREBY COMMA.N'DED to have PATRICK WILLIAMSl DOB:O‘}£lS[ILBG'?l
R&I§ 8681 , appear before the Honorable Bernice B. Donald at the date and
time aforementioned.

|'*
ENTERED this 215/day of July, 2005

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ITED STATES MAGISTR.ATE J'UDGE
Thfs document entered on the dockets t 6

wlth Rule 55 and/or 32(b} FHCrP on

   

UNITED sATE DSTIIC COURT - WETERN DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:04-CR-20454 Was distributed by faX, mail, or direct printing on
July 25, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

